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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN

OKLAHOMA POLICE PENSION AND                       Case 5:20-cv-10490-JEL-EAS
RETIREMENT SYSTEM, Individually and
on Behalf of All Others Similarly Situated,       Hon. Judith E. Levy

                    Plaintiff,                    Hon. Elizabeth A. Stafford
v.
                                                  CLASS ACTION
STERLING BANCORP, INC., et al.,

                    Defendants.


 STIPULATION AND ORDER REGARDING DEFENDANTS’ REQUEST
 FOR AN EXTENSION OF THE DEADLINES FOR THEIR MOTION TO
DISMISS REPLY BRIEFS AND RESPONSES TO PLAINTIFF’S MOTION
                TO TAKE JUDICIAL NOTICE

      Pursuant to Defendants’ request for an extension of time to file Defendants’

responses to Plaintiff’s Motion To Take Judicial Notice and Defendants’ reply briefs

in support of the Motions To Dismiss, and Lead Plaintiff Oklahoma Police Pension

and Retirement System’s (“Plaintiff”) consent thereto, Defendants and Plaintiff, by

and through their respective counsel (the “Parties”), have stipulated as follows, and

Defendants hereby respectfully request that the Court enter the following proposed

order concerning the extension of deadlines relating to Defendants’ responses to

Plaintiff’s Motion To Take Judicial Notice and Defendants’ reply briefs in support

of Defendants’ Motions To Dismiss Plaintiff’s Amended Class Action Complaint.
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      WHEREAS, on December 4, 2020, Plaintiff filed a Motion To Take Judicial

Notice (ECF No. 70), and pursuant to this Court’s December 16, 2020 Stipulation

and Order (ECF No. 74), the response to such motion is due on January 8, 2021;

      WHEREAS, pursuant to this Court’s December 16, 2020 Stipulation and

Order (ECF No. 74), Defendants’ reply briefs in support of Defendants’ Motions To

Dismiss (ECF 55–63), are to be filed on or before January 22, 2021;

      WHEREAS, the fourteen Defendants in the above-captioned action are

represented by nine different counsel groups, and responding to Plaintiff’s Motion

To Take Judicial Notice and preparing Defendants’ reply briefs in support of the

Motions To Dismiss requires coordination between the multiple defendant groups

and their respective counsel;

      WHEREAS, in light of the current holiday season and Defendants’ need to

confer as to the responses to the Motion To Take Judicial Notice and the reply briefs

in support of Defendants’ Motions To Dismiss, Defendants request, and Plaintiff

consents to, an extension of time for Defendants to file their responses to Plaintiff’s

Motion To Take Judicial Notice from January 8, 2021 to February 5, 2021, and an

extension of time for Defendants to file their reply briefs in support of the Motions

To Dismiss from January 22, 2021 to February 18, 2021;




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      WHEREFORE, IT IS HEREBY ORDERED AS FOLLOWS:

      PURSUANT TO STIPULATION, the Court sets the following deadlines:

      1.    All Defendants shall file their respective responses to Plaintiff’s Motion

To Take Judicial Notice on or before February 5, 2021;

      2.    All Defendants shall file their respective reply briefs in support of

Defendants’ Motions To Dismiss on or before February 18, 2021.

      IT IS SO ORDERED.



January 5, 2021                       s/Elizabeth A. Stafford
                                      HON. ELIZABETH A. STAFFORD
                                      UNITED STATES MAGISTRATE JUDGE




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Dated: December 30, 2020

STIPULATED AND AGREED:

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